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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE

 9    UNITED STATES OF AMERICA,
10                           Plaintiff,
                                                                   CASE NO. CR04-0432C
11              v.
                                                                   ORDER
12    ALBERT C. HUH,
13                           Defendant.
14

15          This matter is before the Court on Defendant’s motion (Dkt. No. 80) to amend the presentence

16   report and judgment. Having considered the papers submitted by Defendant, as well as the record as a

17   whole, and finding oral argument unnecessary, the Court DENIES Defendant’s motion for the following

18   reasons.

19          Defendant requests an order amending his presentence report to delete references to a two-point

20   enhancement for possession of a dangerous weapon, and to amend the judgment to the extent it adopted

21   that enhancement. (See Def.’s Mot. 1.) He argues that the presence of that reference precludes him from

22   participating in the Bureau of Prisons’s Residential Drug Abuse Prevention Program. (Id.)

23          The weapons references in Defendant’s presentence report reflect his possession, on two separate

24   occasions, of loaded handguns: police discovered a semi-automatic .40 caliber handgun on Huh during

25   his initial arrest, and again found him carrying a 9mm pistol while on pretrial release. The government

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 1   agreed to dismiss formal charge for those incidents in the plea agreement, which otherwise would have

 2   resulted in a consecutive five-year sentence. (Id. 1–2.) The Court also agreed to a downward departure

 3   at sentencing, but stated on the record that it found Defendant’s lack of judgment “very troubling”:

 4   “having been given release, he was so unwise and immature as to be involved with a weapon again.”

 5   (Def.’s Mot. Ex. 1.) The Court imposed a lighter sentence due to Defendant’s age, but emphasized that

 6   the weapons incidents needed to be “recognized in the sentence.” (Id.)

 7          The Court encourages Defendant to continue his efforts to participate in the prison’s abuse

 8   program, and sees nothing in the record suggesting that the presentence report would preclude his

 9   eligibility. In fact, the only aspect of the abuse program for which Defendant is ineligible due to the

10   enhancement is the 12-month early release. See 18 U.S.C. § 3621; (Pl.’s Opp’n Ex. B). This is an

11   insufficient basis to clear the presentence report of references to very serious infractions, especially given

12   the substantial benefits Defendant has already received by avoiding the formal charge and a consecutive

13   sentence.

14          Accordingly, the Court DENIES Defendant’s motion to amend the presentence report or the

15   judgment.




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16          SO ORDERED this 9th day of November, 2005.

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                                                    UNITED STATES DISTRICT JUDGE
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26   ORDER – 2
